                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

UNITED STATES OF AMERICA               )
                                       )
      v.                               )     No. 3:18-00199
                                       )     JUDGE RICHARDSON
TARIUS CLAYBROOKS                      )

      MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD

      Pursuant to Rule 57.01(d)(2) of the Local Criminal Rules for the Middle

District of Tennessee, undersigned counsel of record for defendant Tarius

Claybrooks respectfully moves this Court for an order granting him leave to

withdraw as counsel of record in the instant proceeding.

      Undersigned counsel was appointed to represent Mr. Claybrooks on October

12, 2018, after Mr. Claybrooks’ retained counsel moved to withdraw. The case is

currently set for trial on March 5, 2019. On Tuesday, November 6, Mr. Claybrooks’

family retained James Wiggington and John Tennyson as private counsel for Mr.

Claybrooks. Undersigned counsel verified with Mr. Claybrooks that he was aware of

this development and that he wishes to be represented by Mr. Wiggington and Mr.

Tennyson.

      Based on the above, undersigned counsel gave “reasonable notice to the client

of the attorney’s intention to withdraw from the case.” LCrR57.01(d)(2).

      Accordingly, undersigned counsel respectfully submits that the interest of

Mr. Claybrooks and the ends of justice would best be served by permitting him to




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withdraw as counsel of record in this matter, and allowing Mr. Claybrooks to be

represented by John Tennyson and James Wiggington.

                                        Respectfully submitted,

                                        s/ Andrew Brandon
                                        ANDREW BRANDON
                                        Assistant Federal Public Defender
                                        810 Broadway, Suite 200
                                        Nashville, TN 37203
                                        615-736-5047
                                        E-mail: Andrew_brandon@fd.org

                                        Attorney for Tarius Claybrooks

                            CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2018, I electronically filed the foregoing
Motion to Withdraw as Counsel of Record with the U.S. District Court Clerk by
using the CM/ECF system, which will send a Notice of Electronic Filing to the
following: Chris Suedekum, Assistant United States Attorney, 110 Ninth Avenue
South, Suite A961, Nashville, TN 37203.

                                        /s/ Andrew Brandon
                                        ANDREW BRANDON




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